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                          UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF PENNSYLVANIA



JANE DOE as next friend for “FIONA,” a minor,               Civ. No. 16-cv-00303-DSC
“ERIN,” “VICKY,”
JANE ROE as next friend for                                 DECLARATION OF
“SKYLAR” and “SAVANNAH,” minors,                            JANE DOE
JOHN DOE as next friend for “SALLY”                         IN SUPPORT OF PETITION
and “SIERRA,” minors, and “SARAH”                           TO APPROVE MINOR
                                                            PLAINTIFF FIONA’S
                                       Plaintiffs,          SETTLEMENT AND ENTER
v.                                                          AN ORDER OF DISMISSAL

KIRK NESSET,
                                       Defendant.


      I, “JANE DOE,” declare under penalty of perjury that the following is true and correct:

1.    I am the parent, guardian ad litem, and next friend of “Fiona,” a minor plaintiff in this

      action. I am making this declaration in support of the Petition to Approve Minor Plaintiff

      Fiona’s Settlement and Enter an Order of Dismissal which I have reviewed.

2.                        I have discussed with her the settlement negotiated on her behalf by

      our attorney and she approves of the settlement in this action.

3.    I also approve of this settlement as Fiona’s parent, guardian ad litem, and next friend in

      this action.

4.



5.    Fiona has been receiving civil settlements and criminal restitution payments for the past

      several years. The amount of the settlement in this case is similar to the amounts Fiona

      has been receiving in other cases. We both feel that this settlement serves Fiona’s best




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